            Case 22-50038                   Doc 11           Filed 02/08/22 Entered 02/08/22 09:36:00                                        Desc Ch 13
                                                                 First Mtg Page 1 of 2
Information to identify the case:

                       Wyatt W. Knight                                                         Social Security number or ITIN:      xxx−xx−5162
Debtor 1:
                                                                                               EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                      Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                 EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     District of Minnesota                                          Date case filed for chapter:            13     1/24/22

Case number:          22−50038 − WJF




Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                              10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                        About Debtor 2:
1. Debtor's full name                              Wyatt W. Knight

2. All other names used in the
   last 8 years
                                                   600 W Redwing Street
3. Address                                         Duluth, MN 55803
                                                   John F. Hedtke                                                         Contact phone 218−728−1993
4. Debtor's  attorney
   Name and address
                                                   Hedtke Law Office
                                                   1217 E 1st St                                                          Email: john@hedtkelaw.com
                                                   Duluth, MN 55805−2402

5. Bankruptcy trustee                              Kyle Carlson                                                           Contact phone: 218−354−7356
     Name and address                              Chapter 13 Trustee                                                     Email: info@carlsonch13mn.com
                                                   PO Box 519
                                                   Barnesville, MN 56514

6. Bankruptcy clerk's office                                                                                              Hours open: Monday − Friday 8:00AM to
     Documents in this case may be filed           404 Gerald W. Heaney Federal Building                                  4:30PM
     at this address.                              and U.S. Courthouse and Customhouse                                    Contact phone (218) 529−3600
     You may inspect all records filed in          515 West First Street
     this case at this office or online at                                                                                Web address www.mnb.uscourts.gov
                                                   Duluth, MN 55802
      https://pacer.uscourts.gov.
                                                                                                                          Date: 2/8/22
                                                                                                                                  For more information, see page 2



Official Form 309I                                          Notice of Chapter 13 Bankruptcy Case                                                      page 1
            Case 22-50038                 Doc 11        Filed 02/08/22 Entered 02/08/22 09:36:00                                     Desc Ch 13
                                                            First Mtg Page 2 of 2
Debtor Wyatt W. Knight                                                                                                                       Case number 22−50038

7. Meeting of creditors                                                                                            Location:
   Debtors must attend the meeting to     March 21, 2022 at 10:30 AM                                               Video/teleconference *ONLY*, contact
   be questioned under oath. In a joint                                                                            trustee for direction, see contact details
   case, both spouses must attend.                                                                                 above
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: 5/20/22
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 4/4/22
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 7/25/22
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. Proofs of claim can be filed electronically on
                                           the court's website: www.mnb.uscourts.gov. No login or password is required. Alternatively, a Proof of Claim
                                           form may be obtained at the same website or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:        30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                 meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           4/20/22 at 09:15 AM , Location: US Courthouse, Courtroom 2, 515 W 1st St, Duluth, MN 55802 Deadline to
                                           object to confirmation of the Chapter 13 Plan: 4/13/22.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                       page 2
